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United States District Court
District of Columbia
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UNITED STATES OF AMERICA,
                                                                 Case No. 21-cr-190 (DLF)

                 - against -

ZACHARY JORDON ALAM,

                                    Defendant.
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                   DEFENSES PROPOSES THE FOLLOWING VOIR DIRE QUESTIONS:

TO THE PROSPECTIVE JUROR:

        1.       Are you aware of any person who died on January 6, 2021, at the United States
                 Capitol?

        2.       If so, do you know the name of such person[s]?

                                   A. If not, are you aware of their gender?

                                   B. If not, are you aware if the individual was a protestor or
                                      officer?

                                   C. Do you know how many people died as a result of January 6,
                                      2021?

        3.       During the course of the trial, you may hear testimony from or about a number of
                 people. We will now identify for you the names of people who may testify or
                 about whom you may hear testimony. Listen carefully to see if you recognize or
                 know any of the people named.

                                   A. [Do you recognize any of these names?] Ashli Babbitt, Paul
                                      McKenna, Reggie Tyson, or Micheal Byrd?

        4.       If you heard any of these names, have you watched any videos or read any articles
                 regarding such person in relation to January 6, 2021?

        5.       If you heard of the name of any officer [Mckenna, Tyson, or Byrd], have you
                 watched any videos or read any articles surrounding the circumstances of when an
                 individual was shot?
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      6.      If you heard of the name Ashli Babbitt, have you watched any videos or read any
              articles surrounding the circumstances of when she was shot?

      7.      If you have watched such videos or read any articles, then please describe, if
              possible, where such were posted or obtained?

                             A.      Have you learned about the events on January 6, 2021 at the
                                     U.S. Capitol surrounding a shooting from other sources,
                                     such as podcasts or written publications? If so, which ones,
                                     and how often do you review them?

      8.      Have you seen any vigil in Washington, DC relating to January 6, 2021?


      9.      Have you been following the investigation of the events of January 6, 2021, at
              the United States Capitol in the news media or on the internet?

      10.     Have you formulated any conclusions as to the shooting of Ashli Babbitt?

      11.     Have you formulated any conclusions as to who, if any person, is responsible for
              the death of Ashli Babbitt?

      12.     Based on your knowledge of the shooting of Ashli Babbitt, do any of you have
              such strong personal feelings or opinions about such shooting that this would
              affect your ability to be fair and impartial in this case?

      13.     Would such opinions or feelings prevent you, or make it difficult for you, to
              follow the Court’s instructions on the law?

      14.     Jurors are the sole judges of the facts, but they must follow the Court’s instructions
              on the law. The jury may not choose to follow some instructions but not others,
              and even if a juror dislikes, disagrees, with, or does not understand the reasons for
              some of the rules, it is the jury’s duty to follow those instructions. Will any of you
              have any difficulty following the Court’s legal instructions?

Dated: New York, New York
       August 31, 2023                       Respectfully Submitted,

                                             ____/s/______________________
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